Case 19-00178-jkf   Doc 34   Filed 05/22/20 Entered 05/22/20 15:32:26   Desc Main
                             Document      Page 1 of 1


                 IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Bruno Marco Carbone              : CHAPTER 7
                                        :
                                        :
          Debtor                        : CASE NO. 18-13852-JKF
                                        :
                                        :
John Antonucci                          :
                                        : ADVERSE NO. 19-178-JKF
         v.                             :
                                        :
Bruno Marco Carbone                     :
                                        :

                                     ORDER

     AND NOW, this                  Day of                        , 2020,

the motion of the plaintiff for an extension of time to answer

the defendant’s motion to dismiss the amended complaint is hereby

GRANTED. Defendant shall have an additional thirty (30) days to

answer said motion.

                                             BY THE COURT:



  Date: May 22, 2020
                                             Hon. Jean K. FitzSimon
                                             U.S. Bankruptcy Judge
